      Case: 1:18-cv-07761 Document #: 37 Filed: 03/26/19 Page 1 of 3 PageID #:310



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

Kiesque, Incorporated                             )
                                                  )
v.                                                )       Case No. 18-cv-7761
                                                  )
THE PARTNERSHIPS and                              )       Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                       )
IDENTIFIED ON SCHEDULE “A”                        )       Magistrate: Hon. Mary M. Rowland
                                                  )
                                                  )


                                 Joint Stipulation and Order for Dismissal

           The parties to this action, Plaintiff and Kiesque and the following Defendants:

      Doe      Store Name                       ID Number
      387      adiahkbeautycolimited            551a6aa92920ae1e75d70129
      202      yayogem Store                    3986044
      456
               hah                              5705e89c42837358e0aee1ac
     (624)
      491      ladymiss                         589ed2dc3205e1717bceeee7
      203      Yinikiz Discount Store           3108062
      204      Yinikiz Nail Art Store           2883107
      544      royalnailartstore                593ba71d8b960220873cb484
      183      Top Makeup Online Store          1953712
       90      Hot Top-rated Seller             1819214
       76      Fashion Online Shipping Mall     1491844
      161      SHENZHEN Make-up Store           2383001
      78       Fengshangmei Cosmetic Store      2164089
     129       MissNail Store                   2959178
     137       Nail Girl Store                  3612009
     148       Polish Me Store                  3607015
      68       DIY Nails Shop Store             2404043



acting through counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) hereby

stipulate, in consideration of a negotiated settlement executed by them, to the Dismissal With



                                                      1
    Case: 1:18-cv-07761 Document #: 37 Filed: 03/26/19 Page 2 of 3 PageID #:311



Prejudice of this action, including all claims and counterclaims stated herein against all parties,

with each party to bear its own attorney's fees and costs. This court shall retain jurisdiction solely

for the enforcement of the negotiated settlement agreement.

Dated: March 26, 2019




   s/David Gulbransen/                                   s/Adam E. Urbanczyk/
David Gulbransen
Attorney for Plaintiff                                 Attorney for Defendant

David Gulbransen                                        Adam E. Urbanczyk
Law Office of David Gulbransen                          AU LLC
805 Lake Street, Suite 172                             546 W. Randolph St., 2nd Floor
Oak Park, IL 60302                                     Chicago, IL 60661
(312) 361-0825 p.                                      (312) 715-7312 p.
(312) 873-4377 f.                                      adamu@au-llc.com
david@gulbransenlaw.com



                                              ORDER


       The stipulation is approved. The entire action, including all claims and counterclaims

stated herein against:

    Doe     Store Name                       ID Number
    387     adiahkbeautycolimited            551a6aa92920ae1e75d70129
    202     yayogem Store                    3986044
    456
            hah                              5705e89c42837358e0aee1ac
   (624)
    491     ladymiss                         589ed2dc3205e1717bceeee7
    203     Yinikiz Discount Store           3108062
    204     Yinikiz Nail Art Store           2883107
    544     royalnailartstore                593ba71d8b960220873cb484
    183     Top Makeup Online Store          1953712
     90     Hot Top-rated Seller             1819214
     76     Fashion Online Shipping Mall     1491844



                                                  2
    Case: 1:18-cv-07761 Document #: 37 Filed: 03/26/19 Page 3 of 3 PageID #:312



   161     SHENZHEN Make-up Store        2383001
    78     Fengshangmei Cosmetic Store   2164089
   129     MissNail Store                2959178
   137     Nail Girl Store               3612009
   148     Polish Me Store               3607015
    68     DIY Nails Shop Store          2404043



is hereby dismissed without prejudice.


Dated: March 26, 2019                    Entered:




                                          Hon. Charles P. Kocoras
                                          United States District Judge




                                            3
